 

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

USPS Priority Mail parcel 9505 5161 9593 0037 2875 79 (the
“SUBJECT PARCEL”). The SUBJECT PARCEL is approximately
12 inches by 12 inches by 6 inches and weighs approximately 4
pounds and 1 ounce. The SUBJECT PARCEL’s label indicates it is
from “Julien Sullivan 1132 Ocean Ridge Ct Oceanside, CA 92056.”
The SUBJECT PARCEL bears a handwritten label addressed to
“Jennifer Spaeth 6101 N 95% Street Milwaukee, WI 53225.” The
SUBJECT PARCEL was postmarked on February 6, 2020 in Hemet,
California 92543. The postage paid was $21.10.

Case No. ; o- -

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

A USPS Priority Mail parcel 9505 5161 9593 0037 2875 79 (the “SUBJECT PARCEL”). The SUBJECT PARCEL is
approximately 12 inches by 12 inches by 6 inches and weighs approximately 4 pounds and | ounce. The SUBJECT PARCEL’s
label indicates it is from “Julien Sullivan 1132 Ocean Ridge Ct Oceanside, CA 92056.” The SUBJECT PARCEL bears a
handwritten label addressed to “Jennifer Spaeth 6101 N 95" Street Milwaukee, WI 53225.” The SUBJECT PARCEL was
postmarked on February 6, 2020 in Hemet, California 92543. The postage paid was $21.10.

located in the Eastern District of Wisconsin, there is now concealed:
Please see attached affidavit, which is hereby incorporated by reference.

The basis for the search under Fed. R. Crim P. 41(c) is:
XX evidence of a crime;
& contraband, fruits of crime, or other items illegally possessed;
XI property designed for use, intended for use, or used in committing a crime;
CL a person to be arrested or a person who is unlawfully restrained.
|

The search is related to violations of: Title 21, United States Code, Sections 841(a)(1), 843(b), and 846.
The application is based on these facts: See attached affidavit.

& Delayed notice of 30 days is requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

“ae ’s signature

Cleveland Brand, U.S. Postal Inspector
Printed Name and Title

Sworn to before me and signed in my presence: Wille bY
Date: ?lo[v070 GZ .

 
AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Cleveland Brand, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND BACKGROUND

1. I am a Postal Inspector with the United States Postal Inspection Service (USPIS).
I have been so employed since July 2018.

2. The USPIS is the primary investigative arm of the United States Postal Service
(USPS) and is charged under Title 18, United States Code, Section 3061 with the enforcement
of laws governing the use and movement of the United States Mail, including, but not limited
to, the misuse and fraudulent schemes involving the mail, crimes relating to mail fraud,
narcotics trafficking, and identity theft involving the United States Mail.

3. I am currently assigned to a multi-functional team in Milwaukee, Wisconsin. This
team investigates mail theft, fraud, theft of postal property, prohibited mailings, controlled
substances, and other matters related to the Postal Service.

4, Thold a bachelor’s degree in Computer Networking from Robert Morris University.
I have used my training and experience to locate and identify multiple parcels containing
narcotics and drugs. Based on my training received at the USPIS Career Development Unit,
personal experience, on-the-job training, and working with other Postal Inspectors and
investigators form the Wisconsin High Intensity Drug Trafficking Area (HIDTA), I know that
controlled and non-controlled substances, drug paraphernalia, and drug proceeds are sent
through the United States Postal Service system, and I am familiar with many of the methods

used by individuals who use and attempt to use the mail system to illegally distribute controlled

substances.

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5. During course of my time with the USPIS, I have used my training and experience
to locate and identify multiple parcels containing narcotics and drugs. I have also participated
in numerous complex narcotics investigations which involved violations of state and federal
controlled substances laws including Title 21, United States Code, Sections 841(a)(1), 843(b),
and 846, and other related offenses.

6. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is
intended to show merely that there is sufficient probable cause for the requested warrant and
does not set forth all of my knowledge about this matter.

PURPOSE OF AFFIDAVIT

7. This affidavit is made in support of a search warrant for the SUBJECT PARCEL
(described below) for items which constitute the fruits, instrumentalities, and evidence of
violations of Title 21, United States Code, Sections 841(a)(1), 843(b), and 846, to seize any
controlled substance, and any paraphernalia associated with the manufacture and distribution
of controlled substances including packaging materials and containers to hold controlled
substances; proceeds of drug trafficking activities, such as United States currency, money
orders, bank checks, precious metals, financial instruments; and drugs or money ledgers,
drug distribution or customer lists, drug supplier lists, correspondence, notations, logs,
receipts, journals, books, records, and other documents noting the price, quantity, or times
when controlled substances were obtained, transferred, sold, distributed, or concealed.

PARCEL TO BE SEARCHED
8. This affidavit is made in support of an application to search USPS Priority Mail

parcel 9505 5161 9593 0037 2875 79 (the “SUBJECT PARCEL”). The SUBJECT PARCEL

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is approximately 12 inches by 12 inches by 6 inches and weighs approximately 4 pounds and
1 ounce. The SUBJECT PARCEL’s label indicates it is from “Julien Sullivan 1132 Ocean
Ridge Ct Oceanside, CA 92056.” The SUBJECT PARCEL bears a handwritten label
addressed to “Jennifer Spaeth 6101 N 95" Street Milwaukee, WI 53225.” The SUBJECT
PARCEL was postmarked on February 6, 2020 in Hemet, California 92543. The postage paid
was $21.10.
INVESTIGATION OF THE SUBJECT PARCEL

9. I review Postal Service records and labels shipped between the Milwaukee area and
narcotics source areas. I do this because I know, based on my training and experience, drug
traffickers will sometimes use Priority Mail service, which is the USPS’s three to four day
delivery product. Based on my training and experience with the USPIS, I know drug traffickers
use First Class Mail, Priority Mail, and Priority Mail Express delivery service because of its
reliability and the ability to track the article’s progress to the intended delivery point. In my
training and experience, traffickers will often use fictitious names or addresses, along with

incomplete names and addresses in an attempt to hide their trafficking efforts from law

enforcement.

10. On February 7, 2020, I was made aware of the SUBJECT PARCEL after
reviewing reliable postal records. The SUBJECT PARCEL is a Priority Mail parcel traveling
from a Post Office in Hemet, California, a known source location for drugs mailed to the state
of Wisconsin. That parcel is intended for an address in Milwaukee, Wisconsin. These reliable
postal records allow Postal Inspectors to identify parcels that are shipped from known narcotics
source states and distributors. The recipient address of the SUBJECT PARCEL—46101 North

95" Street, Milwaukee, Wisconsin 53225—has received dozens of similar parcels from the

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same region from the same sender. On January 10, 2020, I located USPS Priority Mail parcel
9505 5161 9342 0009 2143 03, with the same dimensions and a similar weight, the same
sending address, and the same delivery address address. On January 14, 2020, I obtained a
federal search warrant to search that parcel. Upon doing so, I found three vacuum-sealed bags
of suspected marijuana weighing approximately 1,488 grams, which field tested positive for
tetrahydrocannabinol (THC).

11. Due to information described above, I had the SUBJECT PARCEL rerouted to
Milwaukee, Wisconsin for further investigation.

12. + Based on my training and experience, I am aware that California is a source area
for controlled substances. As such, controlled substances are frequently transported from
California via the USPS, and the proceeds from the sale of the controlled substances are
frequently returned to the state via the USPS. These proceeds are generally in large amounts
of money.

13. The Consolidated Lead Evaluation and Reporting (“CLEAR”) database is a public
records product, which is designed for law enforcement officers in locating subjects and
witnesses, verifying identities of individuals, and gathering background information for use in
investigations. A search of the CLEAR database revealed that Jennifer Spaeth is a co-owner
of the property located at 6101 North 95" Street, Milwaukee, Wisconsin 53225.

14. A search of the CLEAR database revealed no person by the name of Julien Sullivan,
who currently lives or has lived at 1132 Ocean Ridge Court, Oceanside, California 92056.
Julien Sullivan appears to be a fictitious name.

15. OnFebruary 10, 2020, I met with Milwaukee Police Detective Eugene Nagler and

his drug detection canine “FLORA” at the Milwaukee P&DC Post Office Customer Parking

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lot located at 345 West Saint Paul Avenue, Milwaukee, Wisconsin 53203. Detective Nagler
is the current handler of “FLORA.” Together, Detective Eugene Nagler and FLORA are a
certified Police Narcotic Detection Team, accredited through the Indiana Law Enforcement
Training Academy, Provider 5000-80, in the detection of heroin, cocaine, marijuana,
methamphetamine, and other controlled substances made with like components. Detective
Nagler and FLORA were certified on on February 14, 2014, January 20, 2015, January 18,
2016, January 13, 2017, January 18, 2018, February 1, 2019, and February 6, 2020. Detective
Nagler and FLORA were also certified by the American Working Dog Association on January
20, 2015. Detective Nagler received an additional 120 hours of single-purpose narcotics
detector dog handling training January 27 — February 14, 2014. Detective Nagler received an
additional 120 hours of single-purpose narcotic detector dog handling training between January
27, 2014 and February 14, 2014. Detective Nagler is a current member of the North American
Police Work Dog Association and the American Working Dog Association (AWD), as
required by the State of Wisconsin Controlled Substances Board. Detective Nagler states that
FLORA has alerted to the presence of the controlled substance that she is trained to detect over
500 times during training.

16. On February 10, 2020, I placed the SUBJECT PARCEL on the ground of the
customer parking lot of the Milwaukee P&DC with four other similarly-sized empty parcels.
FLORA located and alerted to the SUBJECT PARCEL. Detective Nagler informed me that
FLORA’s alert indicates the presence of controlled substances or other items, such as proceeds
of controlled substances, which have been recently contaminated with or associated with the

odor of one or more controlled substances.

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17. The SUBJECT PARCEL is currently being held at the USPIS Milwaukee
Domicile, located at 345 West Saint Paul Avenue, Milwaukee, Wisconsin 53203.

18. Based upon the information as outlined in this affidavit, I believe there is probable
cause to indicate the contents of the SUBJECT PARCEL are drug-related and, therefore,
constitute the fruits, instrumentalities, and evidence of violations of Title 21, United States
Code, Sections 841(a)(1), 843(b), and 846. Accordingly, I respectfully request the issuance of
a search warrant directing the search of the SUBJECT PARCEL for evidence of a crime,
contraband, fruits of a crime, or other items illegally possessed.

19. Pursuant to 18 USC §§ 3103a(b) and 2705, I am requesting delayed notice of 30
days. This delay is justified because there is reasonable cause to believe that providing
immediate notification of the warrant may have an adverse result, as defined in Title 18, United
States Code, Section 2705. Providing immediate notice of the execution of this warrant would
seriously jeopardize the ongoing investigation, as such a disclosure would give targets of the
investigation an opportunity to destroy evidence, change patterns of behavior, notify
confederates, and flee from prosecution. See 18 U.S.C. § 3103a(b)(1).

20. Because the investigation is ongoing and its success would be jeopardized if the
contents of this affidavit were made public, J am requesting this affidavit be sealed until further

order of the court.

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